     Case 1:19-cr-00018-JRH-BKE Document 154 Filed 09/30/19 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                        AUGUSTA and STATESBORO DIVISION


IN RE:
                                                 Case Nos.:

LEAVE OF ABSENCE REQUEST
                                                              CR118-029, 0. Okolie, et. al.
PATRICIA 0. RHODES
                                                              CR119-018, Z. Gordon, et. al.
October 29, 2019 through October 31, 2019.
                                                              CRl 19-029, 0. Echols, et. al.
                                                              CR119-030, S. Fennell
                                                              CRl 19-032, J. Hambrick, et. al.
                                                              CRl 19-033, T. Moore
                                                              CRl 19-047, W. Forrester, et. al.
                                                              CRl 19-077, V. Kunakowsky (Inf)
                                                              CR119-110, C. Bolt
                                                              CR119-113, T. Freeman, et. al.
                                                              CR113-010, A. Willingham
                                                              CRl 17-027, J. Hamm
                                                              CRl 11-270, L. Ware
                                                              CR117-082, M. Timmerman
                                                              CRl 15-077, B.Wright
                                                              CR116-058, D. Cobb

                                                              CR619-007,A. Powell

                                                              CV118-027, A. Willingham
                                                              CV118-192, J. Hamm
                                                              CV116-014, L. Ware
                                                              CV119-046, M. Timmerman
                                                              CVl 19-064, B. Wright
                                                              CV119-135, D. Cobb

                                          ORDER


         Upon consideration of the Motion for Leave of Absence filed by the United States of

 America in the above-cited cases on behalf of Assistant United States Attorney Patricia G.

 Rhodes for the dates of October 29, 2019 through October 31, 2019 to attend CLE training at

 the National Advocacy Center; same is hereby GRANTED.

         This       day of C.—




                                              [lEF JUDGE J. RANDAL HALL
                                             UNmjD^ATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF GEORGIA
